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  PETA Statement: Endangered Species Safe From
                                      EXHIBIT G
  Tri-State Zoo
  For Immediate Release:
  June 28, 2021

  Contact:
  David Perle 202-483-7382

  Cumberland, Md. – The Supreme Court has denied Tri-State Zoological Park’s petition to
  review PETA’s victory in its federal Endangered Species Act lawsuit against the notorious roadside
  zoo. Below, please find a statement from PETA Foundation Deputy General Counsel for Litigation
  Caitlin Hawks:




      The champagne corks are popping at PETA at the long-awaited news
      that no more threatened and endangered species will endure, in the
       words of a federal court, “early and tragic” deaths at this “fetid and
        dystopic” roadside zoo. And the ball is already rolling on another
       lawsuit—one that aims to get the dozens of animals not protected
             under the Endangered Species Act out of this hellhole.


  More information about PETA’s legal battles against Tri-State is available here.

  PETA—whose motto reads, in part, that “animals are not ours to use for entertainment”—opposes
  speciesism, a human-supremacist worldview. For more information, please visit PETA.org or follow
  the group on Twitter, Facebook, or Instagram.




https://www.peta.org/media/news-releases/peta-statement-endangered-species-safe-from-tri-state-zoo/    1/1
PETA Victory: Tri-State Zoological Park Loses Appeal | PETA                                Page 1 of 3
ANIMALS ARE                       to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                        in any other way.
PETA Victory: Tri-State Zoological Park
Loses Appeal
With Federally Protected Species Now Safe From ‘Dystopic’ Roadside Zoo, Group
Turns Its Attention to Remaining Animals Held There
For Immediate Release:
January 29, 2021
Contact:
David Perle 202-483-7382
Cumberland, M.d. – This morning, the Fourth Circuit Court of Appeals upheld PETA’s
victory (https://www.peta.org/wp-content/uploads/2021/01/OPINION.pdf) in its federal
Endangered Species Act (ESA) lawsuit (https://www.peta.org/media/news-releases/big-
cats-from-tri-state-zoological-park-head-to-new-sanctuary-home/) against Tri-State
Zoological Park (http://www.mediapeta.com/peta/PDF/Tri-StateZooFactsheet.pdf); its
owner and operator, Robert Candy; and an associated entity, Animal Park, Care &
Rescue, Inc.—ruling that PETA had standing to bring the suit, in part because the
roadside zoo “created the misimpression that the conditions in which the animals were
kept were lawful and consistent with animal welfare” and because PETA’s mission




                                                                                                         Case 1:20-cv-01225-PX Document 71-35 Filed 12/20/21 Page 2 of 26
demanded that it take action to correct that misimpression.
Tri-State had filed the appeal after the United States District Court for the District of
Maryland ruled in PETA’s favor in the lawsuit in 2019, resulting in the transfer of three big
cats to The Wild Animal Sanctuary in Colorado and a ruling prohibiting the roadside zoo
from ever again owning or possessing endangered or threatened species. The judge
found that five animals protected by the ESA who had died there between the time PETA
https://www.peta.org/media/news-releases/peta-victory-tri-state-zoological-park-loses-app... 4/13/2021
PETA Victory: Tri-State Zoological Park Loses Appeal | PETA                                Page 2 of 3
gave notice of the suit and the trial—one of whom was so ravaged by sepsis that pus-filled
pockets had formed in her heart, tongue, and diaphragm—endured “early and tragic”
deaths and described conditions at Tri-State as “fetid and dystopic.”
“This abject failure of a facility has just been knocked down yet again in its shameless
mission to exploit vulnerable animals,” says PETA Foundation Deputy General Counsel
for Captive Animal Law Enforcement Brittany Peet. “With this victory secured, PETA will
now go full steam ahead with its efforts to get the rest of the animals out of there.”
Just last week, the United States District Court for the District of Maryland denied
(https://www.peta.org/wp-content/uploads/2021/01/court-denied-tri-state-motion-to-
dismiss-peta-nuisance-suit.pdf) Tri-State’s motion to dismiss a new civil complaint filed
against it by PETA and a concerned citizen alleging that the roadside zoo’s neglect and
abuse of more than 100 animals (https://www.peta.org/media/news-releases/new-lawsuit-
filed-against-tri-state-zoological-park/)—who are not protected under the ESA—creates a
public nuisance. This suit asks the court to order that these remaining animals be
transferred to reputable facilities.
PETA—whose motto reads, in part, that “animals are not ours to use for
entertainment”—opposes speciesism, a human-supremacist worldview. For more
information, please visit PETA.org (https://www.peta.org/) or follow the group on Twitter
(https://twitter.com/peta), Facebook (https://www.facebook.com/official.peta), or
Instagram (https://www.instagram.com/peta/?hl=en).




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(https://www.peta.org/media/contact-media-department/)
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https://www.peta.org/media/news-releases/peta-victory-tri-state-zoological-park-loses-app... 4/13/2021
PETA Slams Tri-State Zoo’s Groundhog Day Stunt | PETA                                     Page 1 of 3
ANIMALS ARE                       to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                        in any other way.
PETA Slams Tri-State Zoo’s Groundhog Day
Stunt
Group’s Warning Comes as Lawsuit Proceeds Against Roadside Zoo’s Alleged
Neglect of Animals
For Immediate Release:
January 26, 2021
Contact:
David Perle 202-483-7382
Cumberland, Md. – With the notorious Tri-State Zoological Park slated to provide a
groundhog for the Groundhog Day event downtown, PETA sent a letter
(https://www.peta.org/wp-content/uploads/2021/01/cumberland-please-reconsider-using-
live-groundhog-for-event.pdf) today to Melinda Kelleher, the executive director of the
Cumberland Downtown Development Commission, urging her to skip the live groundhog
altogether.
PETA notes that groundhogs are prey animals who actively avoid human contact and
transporting them to unfamiliar locations while they should be hibernating and subjecting
them to being around unfamiliar humans is extremely stressful for them. The novel




                                                                                                        Case 1:20-cv-01225-PX Document 71-35 Filed 12/20/21 Page 4 of 26
coronavirus is also transmissible between humans and other species, so the event would
put Murray the groundhog at risk of COVID-19 infection.
“PETA is asking the kind people of Cumberland to pass on hiring a chronic animal
neglecter to harass a vulnerable groundhog for a spectacle no one needs,” says PETA
Foundation Deputy General Counsel for Captive Animal Law Enforcement Brittany Peet.
“Traditions evolve as times change, and it’s time for Cumberland to move its Groundhog
Day celebration in a compassionate new direction, sans terrified animal.”
https://www.peta.org/media/news-releases/peta-slams-tri-state-zoos-groundhog-day-stunt/     4/13/2021
PETA Slams Tri-State Zoo’s Groundhog Day Stunt | PETA                                      Page 2 of 3
PETA’s request follows a recent ruling (https://www.peta.org/wp-
content/uploads/2021/01/court-denied-tri-state-motion-to-dismiss-peta-nuisance-suit.pdf)
by the United States District Court for the District of Maryland, which denied Tri-State’s
motion to dismiss the civil complaint filed against it by PETA and a concerned citizen
alleging that the roadside zoo’s neglect and abuse of more than 100 animals
(https://www.peta.org/media/news-releases/new-lawsuit-filed-against-tri-state-zoological-
park/) creates a public nuisance.
PETA prevailed in its previous federal lawsuit against Tri-State
(https://www.peta.org/media/news-releases/big-cats-from-tri-state-zoological-park-head-
to-new-sanctuary-home/), resulting in the transfer of three big cats to an accredited
sanctuary in Colorado and a ruling prohibiting the roadside zoo from owning or possessing
endangered or threatened species. The judge found that five animals protected by the
Endangered Species Act who had died there between the time PETA gave notice of the
suit and the trial—one of whom was so ravaged by sepsis that pus-filled pockets had
formed in her heart, tongue, and diaphragm—endured “early and tragic” deaths at Tri-
State and described conditions at the facility as “fetid and dystopic.”
PETA—whose motto reads, in part, that “animals are not ours to use for
entertainment”—opposes speciesism, a human-supremacist worldview. For more
information, please visit PETA.org (https://www.peta.org/) or follow the group on Twitter
(https://twitter.com/peta), Facebook (https://www.facebook.com/official.peta), or




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Instagram (https://www.instagram.com/peta/?hl=en).
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https://www.peta.org/media/news-releases/peta-slams-tri-state-zoos-groundhog-day-stunt/     4/13/2021
Court Orders Roadside Zoo to Pay Thousands to PETA | PETA                                 Page 1 of 3
ANIMALS ARE                        to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                         in any other way.
Court Orders Roadside Zoo to Pay
Thousands to PETA
Tri-State Zoo Owner Robert Candy and Counsel Nevin Young Sanctioned in
Endangered Species Lawsuit PETA Won That Had Resulted in Transfer of Big Cats
For Immediate Release:
October 30, 2020
Contact:
David Perle 202-483-7382
Cumberland, Md. – On October 29, the U.S. District Court for the District of Maryland
ordered Tri-State Zoological Park of Western Maryland, Inc.
(http://www.mediapeta.com/peta/PDF/Tri-StateZooFactsheet.pdf); Animal Park, Care &
Rescue, Inc.; their owner, Robert Candy; and their counsel, Nevin Young, to pay
$56,655.77 in fees and costs to PETA within 180 days.
The award is connected to a motion for sanctions that PETA filed after defendant Candy,
with assistance from his lawyer, tried unsuccessfully to silence PETA’s critical fact
witnesses days before the group’s Endangered Species Act lawsuit
(https://www.peta.org/blog/peta-rescues-big-cats-tri-state-zoological-park/) against Tri-




                                                                                                        Case 1:20-cv-01225-PX Document 71-35 Filed 12/20/21 Page 6 of 26
State went to trial. PETA won that lawsuit, resulting in the transfer of three big cats to an
accredited sanctuary in Colorado and a ruling prohibiting the roadside zoo from owning or
possessing endangered or threatened species. Tri-State’s appeal remains pending.
“This award is another example of the court’s clamping down on Robert Candy’s brazen
disregard for the law and for animals’ welfare,” says PETA Foundation Deputy General
Counsel for Captive Animal Law Enforcement Brittany Peet. “PETA looks forward to
securing the release of all the animals still held at this shoddy roadside zoo.”
https://www.peta.org/media/news-releases/court-orders-roadside-zoo-to-pay-thousands-to-... 4/13/2021
Court Orders Roadside Zoo to Pay Thousands to PETA | PETA                                   Page 2 of 3
PETA and concerned citizen Constance Collins are now involved in a new lawsuit against
Tri-State alleging that the roadside zoo frequently denies the more than 100 animals
currently in its custody timely veterinary treatment, daily care from qualified staff, sufficient
enrichment, proper food and clean water, and even adequate shelter. The facility also fails
to house animals—including Dodger, a monkey confined alone who was observed picking
skin off his tail until it started to bleed—in social groups that meet their species-specific
needs.
The suit contends that such neglect and mistreatment of animals violates state law and
constitutes a public nuisance, and it asks the court to order that the remaining animals be
transferred to reputable facilities immediately.
PETA—whose motto reads, in part, that “animals are not ours to use for
entertainment”—opposes speciesism, a human-supremacist worldview. For more
information, please visit PETA.org (https://www.peta.org/) or follow the group on Twitter
(https://twitter.com/peta), Facebook (https://www.facebook.com/official.peta), or
Instagram (https://www.instagram.com/peta/?hl=en).
(https://www.peta.org/media/contact-media-department/)
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Also of Interest
https://www.peta.org/media/news-releases/court-orders-roadside-zoo-to-pay-thousands-to-... 4/13/2021
New Lawsuit Filed Against Tri-State Zoological Park | PETA                                 Page 1 of 3
ANIMALS ARE                       to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                        in any other way.
New Lawsuit Filed Against Tri-State
Zoological Park
PETA, Co-Plaintiff Sue Over Animal Mistreatment, Neglect
For Immediate Release:
May 14, 2020
Contact:
David Perle 202-483-7382
Cumberland, Md. – Today, PETA and Constance Collins filed a lawsuit
(https://www.peta.org/wp-content/uploads/2020/05/2020-05-14-001-Complaint-for-
Declaratory-and-Injuncitve-Relief-Public-nuisance.pdf) against Tri-State Zoological Park
(http://www.mediapeta.com/peta/PDF/Tri-StateZooFactsheet.pdf); Animal Park, Care &
Rescue, Inc.; and their owner, Robert Candy, alleging that Tri-State’s neglect and
mistreatment of the animals held at the facility violates federal and state law and
constitutes a public nuisance. The suit asks the court to order that the animals be
transferred to reputable facilities.
PETA and Collins allege that the notorious and decrepit roadside zoo interferes with the
rights of the public and frequently denies the more than 100 animals in its custody timely




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veterinary treatment, daily care from qualified staff, sufficient enrichment, proper food and
clean water, and even adequate shelter. Tri-State also fails to house animals in social
groups that meet their species-specific needs, including Dodger, a monkey who is
confined alone and was observed picking skin off his tail until it started to bleed, and
Spazz, a monkey who is confined alone and has bald patches on his body.
https://www.peta.org/media/news-releases/new-lawsuit-filed-against-tri-state-zoological-p... 4/13/2021
New Lawsuit Filed Against Tri-State Zoological Park | PETA                                  Page 2 of 3
“With every filthy enclosure and sick or stressed animal, this abject failure of a facility
shows that it either can’t or won’t meet the needs of the animals it holds captive,” says
PETA Foundation Deputy General Counsel for Captive Animal Law Enforcement Brittany
Peet. “The plaintiffs look forward to taking Tri-State Zoological Park before a judge and
securing the animals’ release to suitable habitats, where they can live out their lives in
comfort and peace.”
PETA—whose motto reads, in part, that “animals are not ours to use for
entertainment”—previously won an Endangered Species Act lawsuit
(https://www.peta.org/blog/peta-rescues-big-cats-tri-state-zoological-park/) against Tri-
State, which resulted in the transfer of three big cats from the roadside zoo to an
accredited sanctuary in Colorado and prohibited the facility from owning or possessing
endangered or threatened species. Tri-State has appealed, and that appeal remains
pending.
PETA opposes speciesism, a human-supremacist worldview. For more information,
please visit PETA.org (https://www.peta.org/).
(https://www.peta.org/media/contact-media-department/)
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Also of Interest
https://www.peta.org/media/news-releases/new-lawsuit-filed-against-tri-state-zoological-p... 4/13/2021
Big Cats From Tri-State Zoological Park Head to New Sanctuary Home | PETA                  Page 1 of 3
ANIMALS ARE                       to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                        in any other way.
Big Cats From Tri-State Zoological Park
Head to New Sanctuary Home
A Lion, Tigers Rescued After PETA Wins Endangered Species Act Lawsuit Against
Roadside Zoo
For Immediate Release:
February 5, 2020
Contact:
David Perle 202-483-7382
Cumberland, Md. – Following PETA’s successful Endangered Species Act (ESA) lawsuit
(https://www.peta.org/wp-content/uploads/2019/12/Dkt.182-
MemorandumOpinion_PETAv.Tri-StateZoo.pdf) against Tri-State Zoological Park of
Western Maryland, Inc. (https://www.mediapeta.com/peta/PDF/Tri-StateZooFactsheet.pdf)
(“Tri-State”), a lion named Peka and two tigers named Cheyenne and Mowgli are now on
their way to The Wild Animal Sanctuary in Colorado, which is accredited by the Global
Federation of Animal Sanctuaries.
PETA’s lawsuit contended that Tri-State harmed and harassed two lemurs, five tigers, and
two lions in violation of federal law by displaying them in decrepit enclosures without




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appropriate companionship, potable water, or proper enrichment, food, or shelter and by
denying them adequate veterinary care. The court ruled in PETA’s favor, describing
conditions for ESA-protected animals at the facility as “fetid and dystopic.”
https://www.peta.org/media/news-releases/big-cats-from-tri-state-zoological-park-head-to-... 4/13/2021
Big Cats From Tri-State Zoological Park Head to New Sanctuary Home | PETA                   Page 2 of 3
“The evidence showed that every endangered animal at Tri-State was left to languish in
squalid conditions, often seeing a veterinarian only when on the brink of death,” says
PETA Foundation Director of Captive Animal Law Enforcement Brittany Peet. “These
three big cats were lucky to survive, and PETA looks forward to seeing them explore their
lush new sanctuary home.”
Since PETA notified Tri-State of its intent to file suit in December 2016, five of the nine
animals originally at issue died, including a lemur who had torn off the tip of his penis and
a tiger named India who was so ravaged by sepsis that pus-filled pockets had formed in
her heart, tongue, and diaphragm. The surviving lemur was transferred to an accredited
zoo, and on December 26, 2019, the United States District Court for the District of
Maryland ruled in PETA’s favor on all claims presented at trial; ordered that Peka,
Cheyenne, and Mowgli be moved to an accredited sanctuary; and prohibited Tri-State
from owning or possessing endangered or threatened species in the future. Tri-State has
appealed, and that appeal remains pending.
PETA—whose motto reads, in part, that “animals are not ours to use for
entertainment”—opposes speciesism, a human-supremacist worldview.
Photos of the big cats’ arrival at The Wild Animal Sanctuary will be available soon.
For more information, please visit PETA.org (https://www.peta.org/).
(https://www.peta.org/media/contact-media-department/)
For Media: Contact PETA's




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Breaking: Tri-State Zoological Park Must Relinquish Big Cats, Says Court | PETA             Page 1 of 3
ANIMALS ARE                       to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                        in any other way.
Breaking: Tri-State Zoological Park Must
Relinquish Big Cats, Says Court
PETA Wins Endangered Species Act Lawsuit Against Roadside Zoo
For Immediate Release:
December 30, 2019
Contact:
Megan Wiltsie 202-483-7382
Cumberland, Md. – On December 26, following a six-day bench trial that took place in
November, the U.S. District Court for the District of Maryland issued a ruling in PETA’s
Endangered Species Act (ESA) lawsuit (https://www.mediapeta.com/peta/PDF/2017-07-
31_Doc_1_Complaint_by_PETA_against_Tri-State_Redacted.pdf) against Tri-State
Zoological Park of Western Maryland, Inc. (https://www.mediapeta.com/peta/PDF/Tri-
StateZooFactsheet.pdf) (“Tri-State”)—and the three federally protected big cats who
are currently being held there will now be headed to an accredited sanctuary. The
court also prohibited Tri-State from owning or possessing endangered or threatened
species in the future. The judge described conditions for ESA-protected animals at the
facility as “fetid and dystopic.”




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PETA’s lawsuit (https://www.peta.org/wp-content/uploads/2019/12/Dkt.182-
MemorandumOpinion_PETAv.Tri-StateZoo.pdf), which also included Tri-State’s owner
and operator Robert Candy and Animal Park, Care & Rescue, Inc., alleged that Tri-State
harmed and harassed two lemurs, five tigers, and two lions in violation of federal law by
displaying them in decrepit enclosures without appropriate companionship, potable water,
or proper enrichment, food, or shelter and by denying them adequate veterinary care.
Since PETA notified Tri-State of its intent to file suit in December 2016, five of the nine
https://www.peta.org/media/news-releases/breaking-tri-state-zoological-park-must-relinqui... 4/13/2021
Breaking: Tri-State Zoological Park Must Relinquish Big Cats, Says Court | PETA              Page 2 of 3
animals originally at issue have died, including a lemur who had ripped off the tip of his
penis and a tiger named India who was so ravaged by sepsis that pus-filled pockets had
formed in her heart, tongue, and diaphragm. The court found that all these animals
died prematurely and endured tragic deaths and that Tri-State’s failure to provide
them with adequate veterinary care violated the ESA.
“This landmark ruling sends Tri-State and every other roadside zoo a clear message that
keeping social species in isolation and sentencing sick animals to slow, painful deaths will
not be tolerated,” says PETA Foundation Director of Captive Animal Law Enforcement
Brittany Peet. “For more than a decade, PETA has fought tooth and nail for the animals at
Tri-State, and we’re pleased that the court has given these survivors a new lease on life.”
PETA previously filed a motion for summary judgment against Tri-State, prompting a
federal judge to issue a first-of-its-kind ruling that the facility’s failure to provide a now-
deceased tiger named Cayenne with adequate veterinary care “harmed” her, in violation
of the ESA.
PETA—whose motto reads, in part, that “animals are not ours to use for
entertainment”—opposes speciesism, a human-supremacist worldview. For more
information, please visit PETA.org (https://www.peta.org/).
(https://www.peta.org/media/contact-media-department/)
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Tri-State Zoological Park Violated Law, Says Judge | PETA                                    Page 1 of 3
ANIMALS ARE                        to experiment on, eat, wear,
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NOT OURS                         in any other way.
Tri-State Zoological Park Violated Law, Says
Judge
Summary Judgment Supports PETA's Assertion That Failing to Provide Tiger With
Adequate Veterinary Care Violated Endangered Species Act
For Immediate Release:
July 9, 2019
Contact:
David Perle 202-483-7382
Cumberland, Md. – A federal judge for the U.S. District Court for the District of Maryland
has just issued a first-of-its-kind ruling on PETA’s motion for summary judgment, finding
that Tri-State Zoological Park (http://www.mediapeta.com/peta/PDF/Tri-
StateZooFactsheet.pdf)’s failure to provide a now-deceased tiger named Cayenne with
adequate veterinary care “harmed” her, in violation of the federal Endangered Species
Act (ESA). In light of this development, PETA will be requesting that the U.S. Department
of Agriculture terminate the roadside zoo’s federal Animal Welfare Act exhibitor’s license.
The ruling stems from the ESA lawsuit (https://www.mediapeta.com/peta/PDF/2017-07-
31_Doc_1_Complaint_by_PETA_against_Tri-State_Redacted.pdf) filed in 2017 by PETA




                                                                                                           Case 1:20-cv-01225-PX Document 71-35 Filed 12/20/21 Page 14 of 26
alleging that Tri-State harmed and harassed two lemurs, five tigers, and a lion in violation
of federal law by displaying them in decrepit enclosures without appropriate
companionship, potable water, or proper enrichment, food, or shelter and by denying them
adequate veterinary care and that it continues to harm and harass the protected animals
who remain at the facility. Since PETA notified Tri-State of its intent to file suit, four of the
nine animals originally at issue in the lawsuit have died, including a lion and a lemur who
had reportedly mutilated his penis and was hypothermic when he died. According to Tri-
https://www.peta.org/media/news-releases/tri-state-zoological-park-violated-law-says-judge/ 4/13/2021
Tri-State Zoological Park Violated Law, Says Judge | PETA                                     Page 2 of 3
State’s counsel, Cayenne’s brother Kumar died just yesterday, on the same day the court
issued its order finding that the facility violated the ESA in Cayenne’s death. PETA doesn’t
yet know Kumar’s cause of death.
“This landmark ruling sends Tri-State and every other roadside zoo a clear message that
failing to provide a protected species with adequate veterinary care violates federal law,”
says PETA Foundation Director Brittany Peet. “PETA is going full steam ahead with its
efforts to move the endangered and threatened animals still suffering at Tri-State to
reputable facilities where they can enjoy life and engage in natural forms of behavior at
long last.”
PETA—whose motto reads, in part, that “animals are not ours to use for
entertainment”—will now prepare to head to trial on the remaining issues raised in its
lawsuit. The group is requesting an injunction terminating all of Tri-State’s ownership and
possessory rights relating to the three tigers and one lion currently held at the facility,
prohibiting the facility from owning or possessing federally protected animals and from
otherwise violating the ESA, and securing the transfer of every surviving federally
protected animal still held there to reputable facilities. A trial for this case has been
scheduled for November 2019.
PETA opposes speciesism, which is a human-supremacist worldview. For more
information, please visit PETA.org (https://www.peta.org/).
(https://www.peta.org/media/contact-media-department/)




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https://www.peta.org/media/news-releases/tri-state-zoological-park-violated-law-says-judge/ 4/13/2021
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Caught: Tri-State Zoological Park Nets Official Warning for Poor Animal Care | PETA            Page 1 of 3
ANIMALS ARE                        to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                         in any other way.
Caught: Tri-State Zoological Park Nets
Official Warning for Poor Animal Care
New PETA Complaint Finds Isolated Primates, Obese Bear, Filthy Enclosures
For Immediate Release:
June 23, 2015
Contact:
David Perle 202-483-7382
Cumberland, Md. – The U.S. Department of Agriculture (USDA) has hit notorious
roadside zoo Tri-State Zoological Park (https://secure.mediapeta.com/peta/PDF/Tri-
StateZooFactsheet.pdf) with an official warning
(https://secure.mediapeta.com/peta/PDF/20150529_USDAOfficialWarning_TriState.pdf)
for violations of the Animal Welfare Act (AWA) found during two inspections—one of which
was prompted by a PETA complaint. And an even more recent newly released USDA
inspection report (https://secure.mediapeta.com/peta/PDF/2015-05-
27_USDAIR_TriStateZoologicalParkofWestern.pdf) revealed more of the same at Tri-
State, including animals housed in a damaged, dilapidated enclosure that left them at risk
of injury from sharp wires, while a coatimundi was confined to an enclosure with old, dried




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feces on a carpeted resting platform. Tri-State’s apparent violations don’t stop there:
Thanks to a damning eyewitness report, PETA is submitting a fresh complaint
(https://secure.mediapeta.com/peta/PDF/2015-06-
23_RequesttoInvestigateTriStateZoologicalPark.pdf) to the USDA documenting additional
apparent violations (https://secure.mediapeta.com/peta/PDF/2015-06-23_Tri-
StateUSDAComplaintPhotoSheet.pdf), including highly social primates—a squirrel
https://www.peta.org/media/news-releases/caught-tri-state-zoological-park-nets-official-w...    4/13/2021
Caught: Tri-State Zoological Park Nets Official Warning for Poor Animal Care | PETA            Page 2 of 3
monkey and a capuchin monkey—housed in isolation, an obese Asian black bear, and a
kinkajou confined to a filthy, feces-strewn enclosure in which even the animal’s food bowl
was covered with excrement.
“Squalid enclosures, social animals kept in isolation, and chronically poor standards of
care have been documented at Tri-State again and again,” says PETA Foundation Deputy
General Counsel Delcianna Winders. “PETA is calling on the USDA to break the cycle of
neglect and abuse by holding this facility responsible for its inability to meet even the
minimum needs of the animals in its care.”
The USDA has previously cited Tri-State Zoo repeatedly for failing to provide animals with
adequate veterinary care, clean and secure enclosures, environmental enrichment, and
adequate shelter from the wind and cold temperatures as well as for allowing the buildup
of excessive amounts of animal waste in multiple enclosures. In March 2013, the USDA
suspended the facility’s AWA license (https://secure.mediapeta.com/peta/PDF/2013-03-
22_USDADecisionandOrder_TriStateZoo.pdf) for 45 days and ordered it to cease and
desist from violating the AWA. PETA—whose motto reads, in part, that “animals are not
ours to use for entertainment”—urges people everywhere to avoid facilities that imprison
animals for human pleasure and convenience.
For more information, please visit PETA.org (https://www.peta.org/).
(https://www.peta.org/media/contact-media-department/)
For Media: Contact PETA's




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Tigers Rescued From Tri-State Zoo | PETA                                                  Page 1 of 2
ANIMALS ARE                         to experiment on, eat, wear,
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Tigers Rescued From Tri-State Zoo
Following PETA’s successful Endangered Species Act (ESA) lawsuit against Tri-State
Zoological Park (https://www.peta.org/media/news-releases/big-cats-from-tri-state-
zoological-park-head-to-new-sanctuary-home/) in Maryland, a lion named Peka and
two tigers named Cheyenne and Mowgli were transferred to The Wild Animal
Sanctuary in Colorado and are recovering following years of neglect. PETA’s lawsuit
alleged that Tri-State harmed and harassed two lemurs, five tigers, and two lions in
violation of federal law by displaying them in decrepit enclosures without appropriate
companionship, potable water, or proper enrichment, food, or shelter and by denying
them adequate veterinary care. The court ruled in our favor on every issue presented
at trial, describing conditions for ESA-protected animals at the facility as “fetid and
dystopic.” Tri-State has appealed, and that appeal remains pending.
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Tri-State Zoo Found in Violation of the Endangered Species Act | PETA                         Page 1 of 2
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Tri-State Zoo Found in Violation of the
Endangered Species Act
Following a six-day bench trial in PETA’s Endangered Species Act (ESA) lawsuit against
the Tri-State Zoological Park (https://www.peta.org/media/news-releases/breaking-tri-
state-zoological-park-must-relinquish-big-cats-says-court/) in Maryland, a federal court
ruled that Tri-State violated the ESA by failing to provide tigers, lions, and lemurs with
adequate veterinary care, including five animals who died during the course of the
lawsuit. The ruling also found ESA violations based upon the facility’s failure to provide
the protected animals there with adequate sanitation, companionship, and enrichment.
The facility is prohibited from owning or possessing endangered or threatened species
in the future, and the two surviving tigers, Cheyenne and Mowgli, and lion, Peka, were
ordered to be transferred to The Wild Animal Sanctuary in Colorado. Although Tri-State
has appealed, the appellate court rejected its request to prevent their transfer pending
conclusion of the appeal.
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Judge Grants Motion for Summary Judgment in Tri-State Zoo Case | PETA                       Page 1 of 2
ANIMALS ARE                         to experiment on, eat, wear,
use for entertainment, or abuse
NOT OURS                          in any other way.
Judge Grants Motion for Summary
Judgment in Tri-State Zoo Case
A federal judge for the U.S. District Court for the District of Maryland issued a first-of-
its-kind ruling on PETA’s motion for summary judgment, finding that Tri-State
Zoological Park’s failure to provide a now-deceased tiger named Cayenne with
adequate veterinary care “harmed” her, in violation of the federal Endangered Species
Act.
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